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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                       Chapter 7

    JEVIC HOLDING CORP., et al., 1                               Case No. 08-11006 (BLS)

                             Debtors.                            (Jointly Administered)

    THE CIT GROUP/BUSINESS CREDIT, INC., as
    agent for itself and the Lender Group,

                             Plaintiff,

              vs.                                                Adv. No.: 19-50256 (BLS)

    JEVIC HOLDING CORP.; JEVIC
    TRANSPORTATION, INC.; CREEK ROAD
    PROPERTIES, LLC; GEORGE L. MILLER, solely
    in his capacity as Chapter 7 Trustee of the
    bankruptcy estates of Jevic Holding Corp., et al.;
    THE GOODYEAR TIRE & RUBBER CO.;
    ACTION CALENDAR & SPECIALTY CO., INC.;
    IRVING OIL CORPORATION; HARTFORD FIRE
    INSURANCE COMPANY; THE ILLUMINATING
    COMPANY; PITNEY BOWES GLOBAL
    FINANCIAL SERVICES, LLC; WILLIAMS
    SCOTSMAN, INC.; SUNGARD AVAILABILITY
    SERVICES LP; PACHULSKI STANG ZIEHL &
    JONES LLP; MORRIS ANDERSON &
    ASSOCIATES; and KLEHR, HARRISION,
    HARVEY, BRANZBURG & ELLERS LLP,

                             Defendants.

                         REPLY BRIEF IN SUPPORT OF THE CHAPTER 7
                    TRUSTEE’S MOTION TO DISMISS ADVERSARY COMPLAINT




1
             The Debtors in this Chapter 7 case, along with the last four digits of the Debtors’ federal
             tax identification numbers are: Jevic Holding Corp. (8738); Creek Road Properties, LLC
             (9874); and Jevic Transportation, Inc. (3402).



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       George L. Miller, the Chapter 7 Trustee (the “Trustee”) solely in his capacity as the duly-

appointed chapter 7 trustee (the “Trustee”) in the above-referenced chapter 7 cases of the above-

reference debtors (collectively, the “Debtors”), hereby files his reply brief to the Answering Brief

of Plaintiff the CIT Group/Business Credit, Inc. in Opposition to Trustee’s Motion to Dismiss

[A.D.I. 40] (the “Opposition” or “Opp. Br.”) filed by The CIT Group/Business Credit, Inc.

(“CIT”), and in further support of the Motion to Dismiss Adversary Complaint [A.D.I. 37] (the

“Motion to Dismiss”). For the reasons set forth below, the Motion to Dismiss should be granted

and the Complaint should be dismissed in its entirety.

                                PRELIMINARY STATEMENT

       1.      CIT fails to recognize that all the issues identified in the Opposition are of CIT’s

own making when it made the decision (albeit misguided; but clearly strategic) to fund the

Proposed Settlement Agreement before the entry of a final order to gain a perceived litigation

advantage on Appeal. Their actions in doing so belie logic and should not be countenanced. CIT

should not now be permitted to shift the risk it took on its own behalf onto the Trustee and the

Debtors’ estates.

       2.      At bottom, CIT argues that the Administrative Claim Fund is its own—and not the

Debtors’ property—and that CIT should therefore be allowed to proceed with the Complaint. CIT

is wrong on all counts. First, the Chapter 11 Claims Administrative Bar Date Order precludes

CIT from proceeding on its claims in the Complaint. In fact, CIT recognized this when it filed its

motion seeking approval of an administrative expense claim [D.I. 1875] (the “CIT Admin Claim”).

Second, disbursements from the Administrative Claim Fund recovered by the Trustee are property

of the estates and CIT therefore lacks standing to bring the Complaint. Third, CIT has failed to

state a claim for declaratory judgment and restitution. Finally, CIT’s Complaint is barred by the

equitable doctrines of laches and judicial estoppel.
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       3.      For the reasons discussed below and in the Motion to Dismiss, the Complaint

should be dismissed in its entirety.

                                           ARGUMENT

I.     The Complaint is Barred by the Chapter 11 Administrative Claims Bar Date Order

       4.      CIT concedes, as it must, that “[t]he … Administrative Claims Bar Date Order

addresses the procedure for asserting claims to recover from property of the estates.” Opp. Br.

¶ 48 (emphasis added). CIT mistakenly tries to distinguish the Complaint as seeking recovery of

CIT’s own funds, rather than the fact that it seeks to recover funds that are property of the estate

and subject to the CIT Admin Claim. But the CIT Admin Claim makes no such distinction and

both the Complaint and the CIT Admin Claim seek to recover the same $2,000,000 Administrative

Claim Fund based on the same arguments. CIT simply cannot have it both ways.

       5.      Indeed, the CIT Admin Claim broadly provides that “[t]he $2,000,000

administrative claim is for the amount that the Lender Group paid to the Debtors to establish [the

Administrative Claim Fund] pursuant to the [Settlement] Order …, which has been vacated.” CIT

Admin Claim at 1. CIT then argues in the CIT Admin Claim that it is entitled to an administrative

claim based on an alleged right of restitution. See ¶¶ 32-33 (alleging that “[t]he use of the Lender

Group’s funds to pay the Debtors’ obligations benefitted the Debtors …. Therefore [after vacatur

of the Settlement Order] the Lender group is entitled to an additional administrative claim in the

amount of $2,000,000 pursuant to sections 503(b) and 507(a) of the Bankruptcy Code”) (emphasis

added) (citing case law for the proposition that “restitution constitutes a basis for an administrative

claim”). 2 Here, CIT similarly argues that (1) it is entitled to a declaratory judgment that CIT may



2
       Neither footnote 4 nor paragraphs 30-31 of the CIT Admin Claim, relied upon by CIT in a
       footnote (Opp. Br. at 12 n.3), provide otherwise. Footnote 4 of the CIT Admin Claim
       merely reserves the right “to seek disgorgement of the Administrative Claim Fund from


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recover the full $2,000,000 Administrative Claim Fund from the Debtors and their estates and that

CIT also has a super priority interest in such funds; and (2) it is entitled to restitution in the full

$2,000,000 amount. Complaint Counts I & II (WHEREFORE clauses).

       6.      As CIT recognized when it filed the CIT Admin Claim, to the extent it is entitled

to any recovery (it is not), it must seek recovery through the claims resolution process and as

provided in the Chapter 11 Administrative Claims Bar Date Order. Moreover, by filing the CIT

Admin Claim, seeking recovery from property of the estates, CIT has acknowledged that the

Administrative Claim Fund constitutes property of the estates. This Court should not allow CIT

to pursue both an adversary complaint—in contravention to the Chapter 11 Administrative Claims

Bar Date Order—and an administrative claim against the Debtors and their estates seeking the

same recovery based on the same allegations and legal theories. The Court may therefore dismiss

the Complaint as against the Trustee and the Debtors’ estates on this ground alone.

II.    CIT Lacks Standing to Bring the Complaint Because the Administrative Claim Fund
       is Property of the Debtors’ Estates and CIT Funded the Administrative Claim Fund
       Outside of the Terms of the Proposed Settlement Agreement

       7.      CIT next argues that the Administrative Claim Fund is not property of the estates

because “CIT paid such amount to the Debtors pursuant to the vacated Settlement Order” which

should be treated as if it never existed. See Opp Br. ¶¶ 49-57. However, CIT’s argument misses

the mark because CIT did not pay the Administrative Claim Fund “pursuant to the vacated




       the recipients of amounts disbursed therefrom.” CIT Admin Claim at 7 n.4 (emphasis
       added). This reservation is inapplicable here because it expressly applies to “recipients of
       amounts disbursed” from the Administrative Claim Fund (i.e., creditors), not from the
       Debtors or their estates. Similarly, paragraphs 30-31 merely cite case law to support CIT’s
       assertion that parties to a vacated settlement “should be restored to their original economic
       position,” and a discussion of general principles of restitution, neither of which apply here
       for the reasons provided below.



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Settlement Order,” and CIT ignores its own independent conduct in pursuit of mooting the Appeal.

See Opp. Br. ¶ 55. The Proposed Settlement Agreement expressly provided that CIT was not

required to fund the Administrative Claim Fund absent a final, non-appealable order. Proposed

Settlement Agreement ¶¶ 2(a), 18-19. None of the cases cited by CIT address such a unique

circumstance and are therefore readily distinguishable.

       8.      The primary case relied on by CIT, the out-of-circuit decision in Tech. Lending

Partners, LLC v. San Patricio Cnty. Cmty. Action Agency, 2010 WL 11579814 (S.D. Tex. Sept. 2,

2010), is no different. First, the decision is of questionable precedential and persuasive value, even

in its home jurisdiction, because the opinion was later withdrawn by the court ordering that “the

Court’s MEMORANDUM OPINION AND ORDER OF SEPTEMBER 2, 2010 (ENTERED AS

DOC. #53 IN 07-237 AND AS DOC. #50 IN 07-346) IS HEREBY WITHDRAWN and shall have

no precedential value or effect.” Order Lifting Stay Imposed on Appeals and Withdrawing

Memorandum Opinion and Order at 2, Tech. Lending Partners, LLC v. San Patricio Cty. Cmty.

Action Agency, Case No. 2:07-cv-00346 (S.D. Tex. Dec. 23, 2010), ECF No. 57 (bold and italics

added) (attached hereto as Exhibit A).

       9.      Second, the court’s decision on whether insurance proceeds used to fund the

settlement in Tech Lending Partners were property of the estate based on Fifth Circuit law has no

bearing on whether the non-insurance proceeds of the Administrative Claim Fund are property of

the Debtors’ estates. See Tech. Lending Partners, LLC, 2010 WL 11579814, at *4-5. The court’s

decision that the insurance proceeds were not property of the estate turned on Fifth Circuit law that

liability insurance policies are for the benefit of those harmed by the debtor, and would never be

paid directly to a debtor. See id. at *5 (“[T]he liability policy at issue is designed to insure against

wrongful acts committed against third parties by the insureds, not to pay the Debtor for any claims




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it asserts, nor is it designed to replace any property lost by the bankruptcy estate.”). There are no

insurance proceeds at issue here and the Tech. Lending Partners court’s reasoning that liability

insurance proceeds are not property of a debtor’s estate, under Fifth Circuit law, are of no moment.

       10.     Third, the Tech Lending Partners decision also turned on a finding that the

underlying state court litigation that was the subject of the settlement was itself not property of the

debtor’s estate. See id. at *3. In contrast here, there can be no dispute that the claims in the

underlying LBO Adversary are property of the Debtors’ estates and so too are any proceeds of the

litigation such as the Administrative Claim Fund. See Official Committee of Unsecured Creditors

v. CIT Group/Business Credit Inc. (In re Jevic Holding Corp.), 787 F.3d 173, 188 (3d Cir. 2015)

(Scirica, J. dissenting), as amended (Aug. 18, 2015), rev’d and remanded sub nom. Czyzewski v.

Jevic Holding Corp., 137 S. Ct. 973 (2017) (“[T]he money paid by the secured creditors in the

settlement was property of the estate [because a] cause of action held by the debtor is property of

the estate … and ‘proceeds ... of or from property of the estate’ are considered estate property as

well.”) (citations omitted).   Moreover, as discussed above, CIT has acknowledged that the

Administrative Claim Fund is property of the estates by filing the CIT Admin Claim.

       11.     Finally, and perhaps most importantly, the Tech Lending Partners case did not

involve the inequities presented by the Complaint here. The court in Tech Lending Partners ruled

for the appellant who was a party allegedly aggrieved by the proposed settlement, not a proponent

of the settlement as CIT is here. So the appellant in Tech Lending Partners would be more

analogous to the WARN Plaintiffs (as defined in the Opposition) here. Unlike the appellants in

Tech Lending Partners, CIT took action to push the Proposed Settlement Agreement through

before there was a final, non-appealable order before its briefing in the District Court to moot the

WARN Plaintiffs’ Appeal and deny them their right to otherwise receive a decision on the merits.




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Thus, even if the Court finds that the Administrative Claim Fund is not proceeds of the LBO

Adversary litigation, the Court should exercise its equitable powers and deem the Administrative

Claim Fund property of the estates based on the unique circumstances here.

       12.     The Administrative Claim Fund is therefore property of the estates and any right to

recover funds disbursed from the Administrative Claim Fund belongs to the Trustee and

interference with that right violates the automatic stay. CIT lacks standing and the Complaint

should be dismissed with prejudice.

III.   CIT Concedes that Its Claim For Declaratory Judgment “Can Only Be Determined
       Based Upon Past Conduct” and Declaratory Relief Is Therefore Inappropriate

       13.     CIT argues that its request for declaratory judgment is not “solely” to adjudicate

past conduct because its alleged “superpriority right of restitution is a present and future (not past)

right,” but then concedes that its alleged “present right can only be determined based upon past

conduct.” Opp. Br. ¶ 60 (emphasis added). As noted by the district court, “‘[a] declaratory

judgment is inappropriate solely to adjudicate past conduct.’” Delaware State Univ. Student Hous.

Found. v. Ambling Mgmt. Co., 556 F. Supp. 2d 367, 374 (D. Del. 2008) (emphasis added) (citation

omitted). Even though CIT alleges a present “right,” it concedes that its alleged right is based

solely on past conduct and declaratory relief is therefore inappropriate.

       14.     Additionally, “[a] court should not grant declaratory relief ‘if it finds that a

declaratory judgment action will not serve a useful purpose or is otherwise undesirable.’’” Id. at

373 (further providing that “the court ‘must ask whether the requested declaratory judgment will

(1) clarify and settle legal relations in issue and (2) terminate and afford greater relief from the

uncertainty, insecurity, and controversy giving rise to present action.’”) (citations omitted). At

least with respect to the Trustee and the Debtors’ estates, a declaratory judgment is further

inappropriate here because any claim against the Debtors’ estates belongs in the claims resolution




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process as discussed above. 3 Nor has CIT even rebutted the Trustee’s argument that declaratory

relief here is inappropriate because CIT has not alleged that it possesses a lien on, property interest

in, or constructive trust over the $2 million Administrative Claim Fund that may justify its alleged

superior interest. See Motion to Dismiss Opening Brief at ¶ 23.

       15.     The Court should therefore dismiss CIT’s claim for declaratory judgment against

the Trustee and the estates with prejudice.

IV.    The Complaint Fails to State a Claim for Unjust Enrichment and Restitution

       16.     CIT does not dispute that “[t]he essential inquiry in any action for unjust

enrichment or restitution is whether it is against equity and good conscience to permit the

defendant to retain what is sought to be recovered.” Paramount Film Distrib. Corp. v. State, 285

N.E.2d 695, 698 (N.Y. 1972) (emphasis added). Nor does CIT dispute that “[g]enerally, courts

will look to see if a benefit has been conferred on the defendant under mistake of fact or law, if

the benefit still remains with the defendant, if there has been otherwise a change of position by the

defendant, and whether the defendant’s conduct was tortious or fraudulent.” Id.

       17.     Rather, CIT disputes that it would be inequitable to order restitution in favor of

CIT. CIT is mistaken. 4 Most importantly, there is no inequity to CIT in dismissing Count II where



3
       CIT’s argument that the CIT Admin Claim does not preclude its declaratory judgment
       claim fails for the reasons provided above that CIT’s Admin Claim precludes CIT from
       raising the claims in the Complaint in its entirety. Section 551 is also applicable here
       because the Administrative Claim Fund is property of the estates and any avoided transfers
       are recovered for the benefit of the estates as a whole and not solely CIT.
4
       CIT’s cited case law to support that parties to a vacated settlement agreement “should be
       restored to their original economic position” is similarly inapposite. See Opp. Br. ¶ 65.
       None of the cited cases involve the unique circumstances here where a proponent of the
       settlement previously sought, and obtained in the District Court, a dismissal of an Appeal
       as equitably moot arguing that recovery of its own funds would be “virtually impossible.”
       See Equitable Mootness Br. at 8. Indeed, the Northwestern Fuel Co. case, which does not
       involve a settlement, provides that a court has the power “to restore, so far as possible, the


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CIT is seeking a solution to a problem wholly of its own making (and to the extreme detriment of

the Debtors’ estates and creditors). CIT’s claim against the Trustee for unjust enrichment fails for

this reason alone. It would be inequitable to force the Trustee and the Debtors’ estates to pay for

the risk voluntarily assumed by CIT.

       18.     Further, as CIT argued in the Equitable Mootness Brief, the Administrative Claim

Fund, in addition to other funds, were disbursed to administrative and unsecured creditors over six

years ago.   See Equitable Mootness Br. at 9 (stating that over $1.5 million was paid on

administrative expense claims and that over 1,000 checks totaling over $1 million had been

disbursed to priority unsecured tax claimants and general unsecured creditors). At a minimum,

the Trustee, Debtors, and their estates did not retain the Administrative Claim Funds and restitution

against the Trustee and the Debtors’ estates would be inappropriate.

       19.     It is further inequitable to award CIT restitution here because, much like CIT’s

attempt to seek the same relief in the Complaint as in the CIT Admin Claim, CIT seeks to

simultaneously block the Trustee from pursuing the LBO Adversary and to recover the

Administrative Claim Fund from the Debtors’ estates. This would have the effect of allowing CIT

to recover the $2 million it paid into the Administrative Claim Fund under the Proposed Settlement

Agreement while simultaneously obtaining a free de facto release. CIT simply cannot have it both

ways. 5 See Mazza v. Sheet Metal Workers’ Nat. Pension Fund, 410 F. App’x 464, 468 n.1 (3d Cir.



       parties to their former position.” Nw. Fuel Co. v. Brock, 139 U.S. 216, 219 (1891)
       (emphasis added). CIT’s reliance on dicta in Tribune is similarly misplaced for the same
       reasons as discussed in the Motion to Dismiss, which CIT has not rebutted, to include that
       the funds at issue in Tribune were not fully disbursed. See Motion to Dismiss Opening
       Brief at 12 n.11 (citing In re Tribune Media Co., 799 F.3d 272, 283 (3d Cir. 2015)).
5
       CIT also raises issues unique to its motion for judgment on the pleadings in the LBO
       Adversary and a release in the Final DIP Order that CIT alleges bars the Trustee’s claims.
       Although it is not appropriate to litigate those issues here, the Trustee reiterates that the


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2010) (“[R]estitution is inequitable where the payor seeks to recoup a payment, though he has

obtained a benefit from that payment which he intends to retain.”) (citation omitted).

       20.     Moreover, the Proposed Settlement Agreement, although now vacated, governed

the conduct of the parties at the time that CIT decided to fund the Administrative Claim Fund. The

Proposed Settlement Agreement provided that CIT had to fund the Administrative Claim Fund

only after the Proposed Settlement Agreement was approved by a final, non-appealable order.

Proposed Settlement Agreement ¶¶ 2(a), 17-18. Nonetheless, CIT assumed the risk of funding the

Administrative Claim Fund in order to moot the Appeal with no clear provision or plan for what

would happen if the Settlement Order was overturned. Indeed, the more “impossible” it is to

recover the disbursed Administrative Claim Fund, the stronger CIT’s equitable mootness argument

was on Appeal. See Equitable Mootness Br. at 7-8 (detailing actions taken under the Proposed

Settlement Agreement and arguing that “[a]ny attempt to undo these transactions and events and

return to the status quo that existed before the Bankruptcy Court entered the Settlement Order and

the parties consummated the Settlement Agreement would be virtually impossible.”).

       21.     Furthermore, to the extent CIT has a claim for restitution (it does not), such a claim

belongs in the claims resolution process in the main bankruptcy proceeding and not in an adversary

complaint as CIT acknowledged in the CIT Admin Claim as discussed above. See CIT Admin

Claim ¶¶ 32-33 (citing case law for the proposition that “restitution constitutes a basis for an

administrative claim”) (emphasis added).




       release in the Final DIP Order is inapplicable to the Trustee and the out-of-circuit case law
       relied upon by CIT is inapposite for the reasons stated in its Combined (I) Opposition Brief
       to Sun Capital’s and CIT Group/Business Credit, Inc.’s Motions for Judgment on the
       Pleadings, and (II) Reply Brief in Support of Motion to Substitute Chapter 7 Trustee as
       Real Party in Interest [LBO A.D.I. 136].



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        22.     Finally, unlike Professional Staff Leasing Corp. v. Unicare Life & Health Ins. Co.,

dismissal of the CIT’s restitution claim here does not require “factual considerations,” but may be

decided based on the record of these cases and the documents attached to the Complaint. Here,

the Trustee’s motion to dismiss is based entirely on the Complaint and its attachments, matters of

public record, and prior judicial opinions. McTernan v. City of York, Penn., 577 F.3d 521, 526 (3d

Cir. 2009). (“Courts[, on a motion to dismiss,] can review documents attached to the complaint

and matters of public record, … and a court may take judicial notice of a prior judicial opinion.”).

        23.     For these reasons, the Complaint fails to state a claim for unjust enrichment and

restitution and Count Two should be dismissed.

V.      The Complaint is Barred by the Doctrine of Laches

        24.     As established in the Motion to Dismiss, and contrary to the Opposition, there is a

basis to dismiss the Complaint for laches. Specifically, and as cited in the Motion to Dismiss, at

least one bankruptcy court in this district has dismissed a complaint asserting breaches of a post-

petition settlement agreement where the plaintiff waited “approximately two years before filing

the Complaint.” In re Hayes Lemmerz Int’l, Inc., Adv. No. 11-53881 (MFW), Bankr. No. 09-

11655 (MFW), 2013 WL 1910312, at *5 (Bankr. D. Del. Apr. 25, 2013). Similar to Hayes, a case

not discussed in the Opposition despite being cited in the Motion to Dismiss, CIT waited over two

years between the remand to the Bankruptcy Court on or about May 16, 2017 [D.I. 1759] and

CIT’s filing of the Complaint on June 3, 2019 [A.D.I. 1].

        25.     Moreover, laches can apply to bar claims even when an analogous statute of

limitations has yet to run. See Whittington v. Dragon Grp. L.L.C., No. CIV.A. 2291-VCP, 2008

WL 4419075, at *7 (Del. Ch. June 6, 2008) (“The ‘doctrine of laches also permits this court to

hold a plaintiff to a shorter period if, in terms of equity, the plaintiff should have acted with greater

alacrity, and when the plaintiff's failure to seek equitable relief with alacrity threatens prejudice to


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the other party.’”) (quoting Territory of U.S. V.I. v. Goldman, Sachs & Co., 937 A.2d 760, 808

(Del. Ch.2007)); see also Churma v. U.S. Steel Corp., 514 F.2d 589, 593 (3d Cir. 1975) (“Prior to

the running of the statute, the defendant has to prove laches, but thereafter the plaintiff has to

disprove laches.”).

       26.     Even assuming, as CIT urges, that a three year statute of limitations applies, the

Court should still bar the Complaint under the doctrine of laches because CIT “should have acted

with greater alacrity” and its failure to do so “threatens prejudice to” the Debtors’ estates and

creditors. Whittington v. Dragon Grp. LLC, 2008 WL 4419075, at *7. As CIT argues, it is entitled

to recover an administrative claim against the Debtors’ estates to the extent that it is unable to

recover the Administrative Claim Funds from creditors. Opp. Br. ¶ 47. Further, as CIT concedes,

“the Committee’s former financial advisor no longer exists,” and therefore CIT alleges that it “has

an administrative claim against the estates to recover the amounts that were paid to such financial

advisor.” Id. Moreover, at least one other alleged recipient of disbursements of the Administrative

Claim Fund, and a former named defendant in the Complaint, filed for bankruptcy relief during

CIT’s delay in filing the Complaint. See id. at ¶ 83 (“Sungard filed for relief under chapter 11 of

the Bankruptcy Code and has been dismissed from this Adversary Proceeding.”); see also

Voluntary Petition for Non-Individuals Filing for Bankruptcy, In re Sungard Availability Services,

LP, Case No. 19-22914-rdd (Bankr. S.D.N.Y. May 1, 2019) (former defendant Sungard

Availability Services, LP filing for chapter 11 relief more than a month before CIT filed the

Complaint).

       27.     Although the Trustee disputes CIT’s arguments, taken as true, it merely

demonstrates that the estates and creditors will be, and have been, prejudiced by CIT’s inexcusable

delay in bringing the Complaint where (i) funds were disbursed to creditors over six years ago




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pursuant to a non-final Settlement Order so that CIT could seek equitable mootness in the Appeal,

(ii) creditors that received funds have ceased to exist and/or can no longer be recovered from; and

(iii) despite being a party to the Appeal and keenly aware of the vacatur of the Settlement Order

CIT waited over two years to commence the Complaint.

        28.     Moreover, the facts necessary to establish the Trustee’s laches defense—among

other things: (i) the timing of disbursements under the Proposed Settlement Agreement; (ii) CITs

efforts to equitably moot the Appeal; (iii) the vacatur of the Settlement Order by the Supreme

Court; (iv) that at least some creditors receiving disbursements from the Administrative Claim

Fund ceased to “exist” during the time of CIT’s delay in filing the Complaint; and (v) that CIT

waited over two years to file the Complaint—are clear on the face of the Complaint, the record in

these bankruptcy cases, and/or other matters of public record, or are otherwise admitted by Plaintiff

as noted above. The Court may therefore consider these facts on the Trustee’s motion to dismiss.

See McTernan, 577 F.3d at 526.

        29.     Under these unique circumstances, the Court here should bar the Complaint under

the doctrine of laches. 6




6
        CIT offers no explanation for why it waited over two years to file the Complaint other than
        to recite procedural history of the Trustee’s actions that have no bearing on CIT’s inaction
        in filing the Complaint. See Opp. Br. ¶¶ 73-77. Further, although CIT notes, with
        emphasis, that it filed the Complaint “[l]ess than two months” after the Trustee filed its
        motion to substitute in the LBO Adversary, CIT’s own filings show that it was aware of
        the Trustee’s intention to substitute as the real party in interest in the LBO Adversary at
        least four months before CIT filed the Complaint. See CIT Admin Claim at 7 n.5 (noting,
        on February 11, 2019, that “[t]he Chapter 7 Trustee claims he has standing to ‘step into the
        shoes’ of the plaintiff” in the LBO Adversary).



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VI.    The Complaint is Barred by the Doctrine of Judicial Estoppel

       30.     Finally, CIT’s argument that “[t]his is not a case where CIT had rushed to fund the

Administrative Claim Fund to moot an appeal” (Opp. Br. ¶ 84) is not availing because CIT still

used the consummation of the Proposed Settlement Agreement to its strategic advantage in the

Appeal and has taken an irreconcilably inconsistent position in this Adversary Proceeding. Thus,

CIT should be barred by the doctrine of judicial estoppel from arguing that the Administrative

Claim Fund should be returned. See Montrose Med. Grp. Participating Sav. Plan v. Bulger, 243

F.3d 773, 779-80 (3d Cir. 2001) (citations omitted).

       31.     Indeed, CIT used the consummation of the Proposed Settlement Agreement to its

strategic advantage—their actions were not a mistake and cannot be countenanced as such. Rather,

CIT’s actions were calculated steps taken by a sophisticated entity; represented by equally

sophisticated counsel.

       32.     Contrary to CIT’s assertion, the Trustee does not argue that seeking equitable

mootness alone constitutes “bad faith.” See Opp Br. ¶ 85 (citing Official Comm. of Unsecured

Creditors v. SGPA, Inc. (In re SGPA, Inc.), 34 Fed. Appx. 49, 53 (3d Cir. 2002). Rather, the

Trustee takes issue with CIT arguing in the district court that it would be “virtually impossible” to

recover the Administrative Claim Fund and then, after the Settlement Order is vacated, seeking to

do just that in the Complaint. See Equitable Mootness Br. at p. 8, 12. CIT’s argument that “[t]here

is no bad faith if a party’s prior position was not adopted or accepted by a court” (Opp. Br. ¶ 86),

ignores that CIT was able to persuade the district court that recovery of the disbursed

Administrative Claim fund was “impossible” such that “judicial acceptance of [CIT’s] inconsistent

position in [this] later proceeding would create ‘the perception that either the first or the second




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court was misled.’” 7 New Hampshire v. Maine, 532 U.S. 742, 750 (2001) (citation omitted); see

also Czyzewski v. Jevic Holding Corp. (In re Jevic Holding Corp.), 2014 WL 268613, at *4 (D.

Del. Jan. 24, 2014), vacated and remanded on other grounds, 688 F. App’x 166 (3d Cir. 2017)

(holding that Appeal was equitably moot “in view of the settlement” and finding “that the

settlement has been substantially consummated as all the funds have been distributed”).

       33.    Finally, there is no bad faith on the part of the Trustee here. The Trustee is seeking

to recover on claims timely raised in the LBO Adversary and further believes that he and the

Debtors’ estates should not have to bear the burden of CIT’s mistaken gamble on equitable

mootness in the Appeal.

       34.    The Court should therefore apply the doctrine of judicial estoppel to prevent CIT

from pursuing the Complaint.

VII.   The Court Should Deny CIT Leave to Amend as Futile

       35.    The Court should deny CIT’s request for leave to amend because the Complaint’s

deficiencies identified above and in the Motion to Dismiss cannot be remedied by amendment and,

therefore, any attempt to amend would be futile.




7
       CIT’s citation of Montrose Med. Grp. Participating Sav. Plan v. Bulger for the proposition
       that “a party has not displayed bad faith for judicial estoppel purposes if the initial claim
       was never accepted or adopted by a court or agency” is therefore inapposite here where the
       district court adopted CIT’s argument and held, in the alternative, that the Appeal was
       equitably moot. 243 F.3d 773 (3d Cir. 2001).



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                                         CONCLUSION

       For all of the foregoing reasons, the Trustee respectfully requests that this Court enter an

Order: (i) dismissing the Complaint with prejudice as against the Trustee and the Debtors’

bankruptcy estates; and (ii) granting such other and further relief as the Court deems just a proper.

Dated: July 7, 2020                                   BENESCH, FRIEDLANDER, COPLAN
       Wilmington, Delaware                               & ARONOFF LLP

                                                        /s/ Michael J. Barrie
                                                      Michael J. Barrie (No. 4684)
                                                      Jennifer R. Hoover (No. 5111)
                                                      Kevin M. Capuzzi (No. 5462)
                                                      Sean A. Meluney (No. 5514)
                                                      Matthew D. Beebe (No. 5980)
                                                      222 Delaware Avenue, Suite 801
                                                      Wilmington, Delaware 19801
                                                      Telephone: (302) 442-7010
                                                      Facsimile: (302) 442-7012
                                                      mbarrie@beneschlaw.com
                                                      jhoover@beneschlaw.com
                                                      kcapuzzi@beneschlaw.com
                                                      smeluney@beneschlaw.com
                                                      mbeebe@beneschlaw.com

                                                      Special Litigation Counsel for George L.
                                                      Miller, Chapter 7 Trustee




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